William J.F. Roll, UI

Joanna Shally

Melissa J. Godwin

SHEARMAN & STERLING LLP
599 Lexington Avenue

New York, New York 10022
Telephone: (212) 848-4000

Counsel for Plaintiff GCCFC 2007-
GGI11 Brooklyn Industrial, LLC

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GCCFC 2007-GG11 BROOKLYN
INDUSTRIAL, LLC, :

Plaintiff, : Civil Action No.
Vv. :

1-10 INDUSTRY ASSOCIATES LLC,

19-20 INDUSTRY CITY ASSOCIATES,

LLC, RUBIN SCHRON, ABRAHAM
FRUCHTHANDLER, SIS WIZARDS INC.,
THE PRESSCRETE CO. INC., :
MAIDENBERG CORP., AH HARRIS & : COMPLAINT
SONS INC., CATERPILLAR FINANCIAL
SERVICES CORPORATION, MW CELL
TRS1, LLC, NEW YORK COMMUNITY
BANK, NEW YORK CITY
ENVIRONMENTAL CONTROL BOARD,
NEW YORK CITY DEPARTMENT OF
ENVIRONMENTAL PROTECTION, NEW
YORK CITY DEPARTMENT OF FINANCE, :
and NEW YORK STATE DEPARTMENT OF :
TAXATION AND FINANCE, :

Defendants. :
x

 
Plaintiff GCCFC 2007-GG11 BROOKLYN INDUSTRIAL, LLC (“Plaintiff”),
for its Complaint against defendants, alleges of its own knowledge with respect to itself and its
own actions, and on information and belief as to all others and their actions, as follows:

PARTIES —
1. Plaintiff is a Florida limited liability company, having its principal office

at 1601 Washington Avenue, Suite 800, Miami Beach, Florida 33139.

2. Plaintiff is the owner and holder of a certain note and associated mortgage
defined and more particularly described below which affect the property located in the County of
Kings, State of New York, more precisely described below, which property is the subject of this

non-residential foreclosure action.

3. Defendant 1-10 Industry Associates LLC (“1-10 Industry Associates”) is a
limited liability company organized and existing under and by virtue of the laws of the State of
New York, having an address of c/o Cammeby’s International Ltd., 45 Broadway, 25th Floor,

New York, New York 10006.

4. Defendant 19-20 Industry City Associates, LLC (“19-20 Industry City
Associates,” collectively with 1-10 Industry Associates, and individually, as the context may
require, the “Borrower(s)”) is a limited liability company organized and existing under and by
virtue of the laws of the State of New York, having an address of c/o Cammeby’s International
Ltd., 45 Broadway, 25th Floor, New York, New York 10006.

5. Defendant Rubin Schron is a named Sponsor and Guarantor under the

Loan Agreement (defined herein), and a resident of the State of New York, having an address of

c/o Cammeby’s International Ltd., 45 Broadway, 25th Floor, New York, New York 10006.
6. Defendant Abraham Fruchthandler is a named Sponsor and Guarantor
under the Loan Agreement, and a resident of the State of New York, having an address of c/o

FBE Limited, 111 Broadway, New York, New York 10006.

7. Defendant SIS Wizards Inc. is a corporation organized and existing under
and by virtue of the laws of the State of New York, having an address of
34 34th Street, Brooklyn, New York 11201. It is made a party hereto on account of a judgment

lien it holds against the Borrowers in the amount of $80,380.

8. Defendant The Presscrete Co. Inc. is a corporation organized and existing
under and by virtue of the laws of the State of New York, having an address of
67 Wall Street, Suite 2411, New York, New York 10005. It is made a party hereto on account of

a mechanic’s lien it holds against the Property.

9. Defendant Maidenberg Corp. is a corporation organized and existing
under and by virtue of the laws of the State of New York, having an address of
19 Dorothy Street, Staten Island, New York 10314. It is made a party hereto on account of a

mechanic’s lien it holds against the Property.

10. Defendant AH Harris & Sons Inc. is a corporation organized and existing
under and by virtue of the laws of the State of Connecticut, with a New York branch having an
address of 382 Hamilton Avenue, Brooklyn, New York 11231. It is made a party hereto on

account of a mechanic’s lien it holds against the Property.

11. Defendant Caterpillar Financial Services Corporation is a corporation
organized and existing under and by virtue of the laws of the State of Delaware, having an office
at 2120 West End Avenue, Nashville, Tennessee 37203. It is made a party hereto on account of

a Uniform Commercial Code Financing Statement filed with the Secretary of State of the State
of New York against Borrower as Debtor, naming such Defendant as Secured Party, and listing

as Collateral a portion of the Property consisting of personal property.

12. Defendant MW Cell TRS1, LLC is a limited liability company organized
and existing under and by virtue of the laws of the State of Delaware, having an office at 1 North
Wacker Drive, Chicago, Illinois 60606. It is made a party hereto on account of a Uniform
Commercial Code Financing Statement filed with the Secretary of State of the State of New
York against Borrower as Debtor, naming such Defendant as Secured Party, and listing as

Collateral a portion of the Property consisting of personal property.

13. Defendant New York Community Bank is a banking corporation
organized and existing under and by virtue of the laws of the State of New York, having an
office at One Jericho Plaza, Jericho, New York 11753. It is made a party hereto on account of a
Uniform Commercial Code Financing Statement filed with the Secretary of State of the State of
New York against Borrower as Debtor, naming such Defendant as Secured Party, and listing as

Collateral a portion of the Property consisting of personal property.

14. Defendant New York City Environmental Control Board is a city
environmental agency having an address of 66 John Street, New York, New York 10038. It is
made a party hereto solely to foreclose any interest, if any, in the Property arising from any code
violations and/or other infractions resulting in fines and/or assessments against the Property.

15. Defendant New York City Department of Environmental Protection is a
city environmental agency having an address of 59-17 Junction Boulevard, 18th Floor, Flushing,
New York 11373. It is made a party hereto solely to foreclose any interest, if any, in the
Property arising from any code violations and/or other infractions resulting in fines and/or

assessments against the Property.
16. Defendant New York City Department of Finance is a city agency having
an address of 66 John Street, 2nd Floor, New York, New York 10038. It is made a party hereto
solely to foreclose any interest, if any, in the Property arising from any code violations and/or

other infractions resulting in fines and/or assessments against the Property.

17. Defendant New York State Department of Taxation and Finance is a state
agency having an address of W. Averell Harriman State Office Building 8/8A, Albany, New
York 12227. It is made a party hereto solely to foreclosure any interest, if any, in the Property
arising from any code violations and/or other infractions resulting in fines and/or assessments

against the Property.
JURISDICTION AND VENUE

18. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 in

that this action is between citizens of different states and the matter in controversy exceeds

$75,000.

19. Plaintiff is a Florida limited liability company and, pursuant to

28 U.S.C. § 1348, is a citizen and resident of Florida.

20. Based on the Plaintiff’s investigation, no defendant, on information and

belief, is a citizen of the State of Florida.
21. This Court has personal jurisdiction over each of the defendants.

22. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the

property that is the subject of this action is located in the Eastern District of New York.
BACKGROUND FACTS

The Loan

23. On or about September 20, 2007, Borrowers, as joint and several obligors,
duly executed, acknowledged, and delivered that certain Amended, Restated and Consolidated
Promissory Note (the “GSCMC Note”), in the principal amount of $300,000,000, and made
payable to Goldman Sachs Commercial Mortgage Capital, L.P. (“GSCMC”), as obligee, for the
purpose of evidencing an indebtedness in the amount of $300,000,000, plus interest at a rate
specified in the Loan Agreement (as hereinafter defined) (the “Loan”). The GSCMC Note is

annexed hereto as Exhibit A.

24. Onor about September 20, 2007, Borrowers, as joint and several obligors
and mortgagors, for the purpose of securing payment of the Loan, duly executed, acknowledged,
and delivered to Mortgage Electronic Registration Systems, Inc. (““MERS”), as nominee of
GSCMC, as mortgagee, an Amended, Restated and Consolidated Mortgage, Assignment of
Rents and Leases, Collateral Assignment of Property Agreements, Security Agreement and
Fixture Filing, dated as of September 20, 2007 and recorded in the Office of the City Register of
the City of New York on October 24, 2007 as CRFN 2007000536647 (the “Mortgage”). The
Mortgage, together with all assignments thereto (as hereinafter described), is annexed hereto as

Exhibit B.

25. Pursuant to the Mortgage, Borrowers granted a security interest to MERS,
as nominee of GSCMC, as mortgagee, and its successors and assigns, in, among other things,
certain real property located in the County of Kings, State of New York, and more particularly

described in the Mortgage as the Property, and all rights and appurtenances thereto, including,
without limitation, all fixtures and personal property located thereon (collectively, the

“Property”). The land comprising the Property consists of the following:

Block Lot County
695 1, 20, 43 Kings
691 1, 44 Kings
687 1 Kings
683 1 Kings
679 1 Kings
706 1, 101, 24 Kings
710 1 Kings

26. | Acomplete legal description of the land comprising the Property is

annexed hereto as Exhibit C.

27. Any applicable recording tax was duly paid at the time of recording the
Mortgage.

28. In conjunction with the Loan, the Borrowers also executed a Loan
Agreement dated as of September 20, 2007 (the “Loan Agreement”). The Loan Agreement is
annexed hereto as Exhibit D. The Mortgage, together with the Note (as hereinafter defined), and
all other documents evidencing or securing the repayment of the Loan, including, but not
necessarily limited to, the Loan Agreement, are collectively referred to herein as the “Loan

Documents.”
The Holder
29. Pursuant to an Allonge to the GSCMC Note, dated September 20, 2007,

GSCMC endorsed the GSCMC Note to the order of Goldman Sachs Mortgage Company

(“Goldman”).
30. On or about September 20, 2007, Borrowers, as joint and several obligors,
duly executed and delivered each of (a) an Amended, Restated and Consolidated Promissory
Note A-1, in the principal amount of $250,000,000, made payable to Goldman, as obligee (the
“A-1 Note”), and (b) an Amended, Restated and Consolidated Promissory Note A-2, in the
principal amount of $50,000,000, made payable to Goldman, as obligee (the “A-2 Note” and
together with the A-1 Note, the “Note”), which Note replaced the GSCMC Note. The Note,

together with all Allonges thereto (as hereinafter described) is annexed hereto as Exhibit E.

31. Pursuant to an Allonge to the A-1 Note dated October 30, 2007, Goldman
endorsed the A-1 Note to the order of LaSalle Bank National Association (“LaSalle”), as Trustee
for the registered holders of Greenwich Capital Commercial Funding Corp., Commercial
Mortgage Trust 2007-GG11, Commercial Mortgage Pass-Through Certificates, Series 2007-
GG11 (the “A-1 Trust’).

32. On October 17, 2008, LaSalle merged with and into Bank of America,
National Association (“Bank of America”). The Certificate of Merger, dated April 4, 2011, is
annexed hereto as Exhibit F.

33. Pursuant to that merger, Bank of America became the Trustee for the
registered holders of the A-1 Trust.

34. Pursuant to an Allonge to the A-1 Note, Bank of America endorsed the A-
1 Note to the order of U.S. Bank, National Association (“U.S. Bank”), as Trustee for the A-1
Trust.

35. Pursuant to an Allonge to the A-1 Note, dated August 12, 2011, U.S. Bank

endorsed the A-1 Note to the order of Plaintiff.
36. Pursuant to an Allonge to the A-2 Note, dated September 20, 2007,
Goldman endorsed the A-2 Note to the order of Wells Fargo Bank, N.A. (“Wells Fargo”), as
Trustee for the registered holders of Citigroup Commercial Mortgage Trust 2008-C7

Commercial Mortgage Pass-Through Certificates, Series 2008-C7 (the “A-2 Trust”).

37. Pursuant to an Allonge to the A-2 Note dated August 12, 2011, Wells

Fargo endorsed the A-2 Note to the order of Plaintiff.

38. | Onor about September 8, 2011, MERS, in its capacity as nominee for
U.S. Bank and Wells Fargo, assigned and transferred all of its right, title, and interest in the
Mortgage to Plaintiff pursuant to an Assignment of Amended, Restated and Consolidated
Mortgage, Assignment of Rents and Leases, Collateral Assignment of Property Agreements,
Security Agreement and Fixture Filing and Other Loan Documents, which has been or will be

submitted for recording with the Office of the City Register of the City of New York.
Borrowers’ Default

39. Pursuant to the Note and Section 1.2(a) of the Loan Agreement, the
Borrowers are obligated to pay monthly installments of interest on the sixth day of each calendar
month,

40. | The Borrowers have failed to pay the monthly installments of interest
required under the Note and the Loan Agreement for the period from December 6, 2010 through
the date of this Complaint (the “Default”).

41. Pursuant to the terms of the Note, the Mortgage and Section 7.1 of the
Loan Agreement, the Default constitutes an Event of Default under the Loan Documents.

42. Plaintiff notified Borrowers in writing of the Default by letter dated

January 18, 2011, and demanded that Borrowers make payment for all unpaid amounts then due
and owing (the “Notice of Default”). The Notice of Default is annexed hereto as Exhibit G. On
March 10, 2011, Plaintiff further notified Borrowers that the date the debt outstanding under the
Note was due had been accelerated, and was immediately due and payable (the “Notice of

Acceleration and Demand for Payment”). The Notice of Acceleration and Demand for Payment

letter, dated March 10, 2011, is annexed hereto as Exhibit H.

FIRST CAUSE OF ACTION
(Mortgage Foreclosure)
43. Plaintiff repeats and realleges paragraphs 1-42 of this Complaint as if fully

set forth herein.

44, The Default constitutes an Event of Default under the Loan Documents,
which entitles Plaintiff to exercise its rights under the Loan Documents, including without
limitation the right to foreclose on the Mortgage.

45. By virtue of the Default and the Acceleration, the full outstanding
ptincipal balance of the Loan, all accrued and unpaid interest thereon and all other sums owing
under the Loan Documents are currently due and payable.

46. Subsequent to the Default, the Borrowers have failed to pay the monthly
installments of interest required under the Note and the Loan Agreement for the period from
December 6, 2010 through the date of this Complaint. Since that date, Plaintiff has received
only that amount which the Borrower has reported to be the net cash flows generated by the
Property.

47. As of September 12, 2011, the entire amount owing on the Loan was past

due, including the present unpaid principal balance of $300,000,000, plus any interest, default
interest, late fees and other charges (including, but not limited to, unpaid attorneys’ fees and

disbursements), owing under the Loan Documents, no part of which has been paid.

48. No other action or proceeding has been commenced or maintained or is
now pending at law or otherwise for the foreclosure of the Mortgage or for recovery of the sum

secured by the Loan Documents or any part thereof.

49. All conditions precedent to the assertion of the claims set forth herein have

been satisfied.

50. Plaintiff requests that, in the event that this action proceeds to a judgment

of foreclosure and sale, the Property be sold subject to the following:
(a) Any state of facts that an inspection of the Property would disclose;
(b) Any state of facts that an accurate survey of the Property would show;

(c) Any covenants, restrictions, easements, and public utility agreements

of record;

(d) Any building and zoning ordinances or codes of the municipality, or
any of its agencies or instrumentalities, in which the mortgaged

Property is located and any violations of such ordinances or codes;
(e) Any rights of tenants or persons in possession of the Property;

(f) Any equity of redemption of the United States of America to redeem

the premises within 120 days from date of sale; and
(g) Any prior lien(s) of record.

51. In the event that Plaintiff possesses any other lien against the Property

either by way of judgment, junior mortgage or otherwise, Plaintiff requests that such other lien

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not be merged in Plaintiffs causes of action set forth in this Complaint, but that Plaintiff be
permitted to enforce the other lien or seek a determination of priority thereof in any independent

action or proceeding, including without limitation any surplus money proceedings.
WHEREFORE, Plaintiff respectfully requests:

(a) That the defendants and each of them and all persons claiming under them
or any of them, subsequent to the commencement of this action and the filing of a notice of
pendency thereof, be barred and foreclosed of and from all estate, right, title, interest, claim, lien,
and equity of redemption of, in and to the Property and each and every part and parcel thereof;
and that the Property may be decreed to be sold, according to law, in “as is” physical order and

condition, subject to the items set forth in paragraph 50 of this Complaint;

(b) That the monies arising from the sale thereof may be brought into Court so
that Plaintiff may be paid the amount due on the Loan Documents, with interest, late charges to
the time of such payment, exit fees, and the expenses of such sale, including reasonable
attorney’s fees, together with the costs, allowances and disbursements of this action, and together
with any sums incurred by Plaintiff pursuant to any term or provision of the Loan Documents, or
to protect the lien of Plaintiff's mortgage or the Property, together with interest on those sums
from the dates of the respective payments and advances thereof, so far as the amount of such

monies properly applicable thereto will pay the same;

(c) That in the event that Plaintiff possesses any other lien(s) against the
Property either by way of judgment, junior mortgage, or otherwise, Plaintiff requests that such
other lien(s) shall not be merged in Plaintiff's cause(s) of action set forth in this Complaint but
that Plaintiff shall be permitted to enforce the other lien(s) and/or seek determination of priority

thereof in any independent action(s) or proceeding(s), including, without limitation, any surplus

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money proceedings, and that Plaintiff may have such other and further relief, or both in the

premises, as may be just and equitable;

(d) That in the event that, in order to protect its security interest, Plaintiff is
compelled during the pendency of this action to make payments or make repairs to secure,
protect and maintain the Property, and to pay taxes, assessments, water rates, sewer rents,
insurance premiums and other charges affecting the Property, such sums so paid be added to the
sums otherwise due and be deemed to be secured by the Mortgage and adjudged a valid lien on

the Property, with appropriate interest thereon;

(e) Plaintiff's costs and disbursements incurred in this action, including

attorneys’ fees; and
(f) Such other and further relief as the Court may deem just and proper.

SECOND CAUSE OF ACTION
(For the Appointment of a Receiver)
52. Plaintiff repeats and realleges paragraphs 1-51 of this Complaint as if fully

set forth herein.

53. Pursuant to Section 3.1(e) of the Mortgage, Plaintiff has the express right

to seek the appointment of a receiver (the “Receiver”) in an Event of Default.

54. Additionally, the above-pleaded facts demonstrate the need for the
appointment of a receiver for the Property pursuant to Federal Rule of Civil Procedure 66 and 28

U.S.C. § 754.

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WHEREFORE, Plaintiff respectfully requests judgment:

(a) Appointing a person whom this Court deems suitable and appropriate to
serve as Receiver of the Property, for the purpose of preserving and protecting the value of the

Collateral that secures repayment of the Note;

(b) . Authorizing the Receiver to receive and collect the Rents and profits of the

Property with the usual powers;

(c) Authorizing the Receiver to take immediate possession of the Property
and related assets, including without limitation, bank accounts maintained by any manager

related to the Property, and accounts receivable generated by the Property;

(d) Authorizing the Receiver to hire and employ a person or entity that the
Receiver deems suitable and appropriate to serve as the manager of the Property during the

pendency of the receivership;

(e) Authorizing the Receiver to take all actions reasonably necessary to

maintain, operate, and preserve the Property during the pendency of the Receivership;

(f) Authorizing the Receiver to incur such limited amount of additional debt

as is reasonably necessary to maintain, operate, and preserve the Property;

(g) Pursuant to 28 U.S.C. §§ 2001, 2002, and 2004, authorizing the Receiver
to sell the Property in one parcel or multiple parcels, and that the sums due Plaintiff on or
pursuant to the Loan Documents be determined and adjudged, and that out of the monies arising
from the sale of the Property and personal property, Plaintiff be paid the amounts due on the
Loan Documents, with interest thereon, the premiums and penalties, if any, and all other amounts
due on the Loan, including attorneys’ fees, the expenses of the sale, and costs, expenses, and

disbursements of this action, together with the sums that have been and may be paid by Plaintiff

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for fire insurance, taxes, charges and assessments on the Property, with interest thereon, so far as

the amount of such monies properly applicable thereto shall suffice therefor;
(h) Directing the Receiver to provide an accounting of the receivership estate;

(i) Providing for the reasonable compensation of the Receiver and the

manager of the Property;

(j) Directing any and all individuals and entities with actual or constructive
notice of the receivership to cooperate with the Receiver’s efforts to take possession of the

Property and related assets;

(k)  Enjoining any and all individuals and entities with actual or constructive
notice of the receivership from directly or indirectly interfering with the Receiver’s efforts to
discharge its duties as Receiver; and

(I) Enjoining any and all individuals and entities with actual or constructive
notice of the receivership from concealing, dissipating, or destroying the assets of the

receivership estate or any books and records thereto.

THIRD CAUSE OF ACTION
(Entitlement to Rents and Accounting)

55. Plaintiff repeats and realleges paragraphs 1-54 of this Complaint as if fully
set forth herein.

56. Pursuant to Section 4.1 of the Mortgage, the Borrowers absolutely and
unconditionally assigned and transferred to Plaintiff, among other things, the Rents.

57. The Mortgage provides that, upon the occurrence and continuance of an
Event of Default, Plaintiff is immediately entitled to the Rents, and the Borrowers are required to

hold the Rents held by the Borrowers in trust on behalf of Plaintiff.

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58. By virtue of the Default, Plaintiff is entitled to the Rents, and to specific

performance of the Borrowers’ obligations under the Mortgage regarding the Rents.
WHEREFORE, Plaintiff respectfully requests judgment:
(a) Declaring Plaintiff's entitlement to the Rents;

(b) Declaring Plaintiff's right to an accounting of all Rents received and all

expenses paid therefrom;

(c) Granting Plaintiff specific performance with regard to the Borrowers’
obligation under the Loan Documents to hold in trust or turnover to Plaintiff all rents collected

and all other obligations of the Borrowers pertaining to the Rents; and
(d) Granting such other relief as is equitable and just.

FOURTH CAUSE OF ACTION

(Foreclosure of Security Interest in Personalty)

59. Plaintiff repeats and realleges paragraphs 1-58 of this Complaint as if fully
set forth herein.

60. To secure repayment of the Loan, the Mortgage executed by the
Borrowers included a Security Agreement in favor of Plaintiff pursuant to which the Borrowers
gave Plaintiff a security interest in the Borrowers’ personal property including, without
limitation, the Personalty, Fixtures, Plans, Leases, Rents and Property Agreements contained in

or on the Property (collectively, the “Non-Real Property Collateral”). See Exhibit B at Article 6.

61. By virtue of the Default, Plaintiff is entitled to foreclose on its security

interest in the Non-Real Property Collateral.

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WHEREFORE, Plaintiff respectfully requests:

(a) That the defendants and each of them and all persons claiming under them
or any of them, subsequent to the commencement of this action and the filing of a notice of
pendency thereof, be barred and foreclosed of and from all estate, right, title, interest, claim, lien,
and equity of redemption of, in and to the Non-Real Property Collateral; and that the Non-Real

Property Collateral may be decreed to be sold, according to law;

(b) That the monies arising from the sale thereof may be brought into Court so
that Plaintiff may be paid the amount due on the Loan Documents, with interest, late charges to
the time of such payment, exit fees, and the expenses of such sale, including reasonable
attorney’s fees, together with the costs, allowances and disbursements of this action, and together
with any sums incurred by Plaintiff pursuant to any term or provision of the Loan Documents,
together with interest on those sums from the dates of the respective payments and advances

thereof, so far as the amount of such monies properly applicable thereto will pay the same; and
(c) Such other and further relief as the Court may deem just and proper.

FIFTH CAUSE OF ACTION

(Deficiency Judgment Against Borrowers)

62. Plaintiff repeats and realleges paragraphs 1-61 of this Complaint as if fully
set forth herein.

63. Plaintiff is entitled to recover from Borrowers, to the extent of Borrowers’
obligations under the Loan Documents, any deficiency that may remain unsatisfied after

applying all proceeds of the sale of the Collateral pursuant to the direction of the Court.

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64. Plaintiff reserves all rights and remedies pursuant to that certain Guaranty

dated as of September 20, 2007 by Rubin Schron and Abraham Fruchthandler in favor of

Plaintiff in respect of any deficiency judgment ultimately rendered hereunder.

WHEREFORE, Plaintiff respectfully requests a deficiency judgment in an

amount equal to any deficiency referenced in paragraph 63 above.

Dated: New York, New York
September 19, 2011

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SHEARMAN & STERLING LLP

By:

 

William J.F. Roll, If
Joanna Shally
Melissa J. Godwin

599 Lexington Avenue

New York, New York 10022
Telephone: (212) 848-4000
wroll@shearman.com
jshally@shearman.com
melissa.godwin@shearman.com

Counsel for Plaintiff GCCFC 2007- —
GG11 Brooklyn Industrial, LLC
